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P1aimifr, ) 97-20236-M1
) 97-20237-1\/11
vs ) 97-20238-M1
) 97_20239_M1
EDDIE JETER ) 97-20240_M1
) 97_20241_M1
Defendant. )
0RDER 'ro sURRENDER

 

The defendant, Eddie Jeter, having been sentenced in the above case to the custody of the
Bureau of Pn'sons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI MEMPHIS
(SCP) 1101 Joho A. Denie Road, Memphis, TN 38134 by 2:00 p.m. on FRIDAY, AUGUST 5,
2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediater to the Office of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Mernphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTEREDthiSrhe 15 day ofJuly,zoos.

1060th

J PHIPPS McCALLA
ITED STATES DIS'I`RICT JUDGE

jj©

 

Thls document entered on the docket sheet in compliance

with Rule ss 0010013210) FHch on 7'[§ 'Q.S“

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ACKNOWLEDGMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED `STATES DISTRICT COUR - WTERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 280 in
case 2:97-CR-20235 Was distributed by faX, mail, or direct printing on
.1 uly 15, 2005 to the parties listed

 

 

.1 acob E. Erwin
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Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

